            Case 2:09-cr-00061-RSL          Document 6        Filed 03/06/09      Page 1 of 3




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 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 6
     UNITED STATES OF AMERICA,                         )
 7                                                     )
                              Plaintiff,               )    Case No. MJ09-86-BAT
 8                                                     )
           v.                                          )
 9                                                     )    DETENTION ORDER
     BONY KUY,                                         )
10                                                     )
                              Defendant.               )
11                                                     )

12   Offense charged:

13         (1)     Distribution of Methamphetamine;

14         (2)     Felon in Possession of a Firearm.

15    Detention Hearing: March 6, 2009.

16         The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f), and

17    based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18    that no condition or combination of conditions which the defendant can meet will reasonably

19    assure the appearance of the defendant as required and the safety of any other person and the

20    community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22    (1) Defendant has been charged by complaint with Distribution of Methamphetamine and Felon

23    in Possession of a Firearm. Based on the information contained in the U.S. Pretrial Report,


     DETENTION ORDER -1
            Case 2:09-cr-00061-RSL           Document 6       Filed 03/06/09      Page 2 of 3




 1    defendant stipulated to detention.

 2         It is therefore ORDERED:

 3         (1)     Defendant shall be detained pending trial and committed to the custody of the

 4    Attorney General for confinement in a correctional facility separate, to the extent practicable,

 5    from persons awaiting or serving sentences, or being held in custody pending appeal;

 6         (2)     Defendant shall be afforded reasonable opportunity for private consultation with

 7    counsel;

 8         (3)     On order of a court of the United States or on request of an attorney for the

 9    Government, the person in charge of the correctional facility in which defendant is confined shall

10    deliver the defendant to a United States Marshal for the purpose of an appearance in connection

11    with a court proceeding; and

12         (4)     The clerk shall direct copies of this order to counsel for the United States, to counsel

13    for the defendant, to the United States Marshall, and to the United States Pretrial Services Officer.

14         DATED this 6th day of March, 2009.

15

16                                                        A
                                                          BRIAN A. TSUCHIDA
17                                                        United States Magistrate Judge

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     DETENTION ORDER -2
          Case 2:09-cr-00061-RSL   Document 6   Filed 03/06/09   Page 3 of 3




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     DETENTION ORDER -3
